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 1                                 AFFIDAVIT OF KEVIN PALERMO
 2 STATE OF WASHINGTON                   )
                                         )     ss
 3
     COUNTY OF KING                      )
 4
 5          I, KEVIN PALERMO, a Special Agent with the Drug Enforcement
 6 Administration, Seattle, Washington, having been duly sworn, state as follows:
 7                                    AFFIANT BACKGROUND
 8                   I am employed as a Special Agent (SA) with the United States Drug
 9 Enforcement Administration (DEA), and have been so employed since August 2016. I
10 am currently assigned to the Seattle Field Division. In this capacity, I investigate
11 violations of the Controlled Substance Act, Title 21, United States Code, Section 801 et
12 seq., and related offenses. I have received specialized training in the enforcement and
13 investigation of the Controlled Substance Act. I have received over 620 hours of
14 classroom training including, but not limited to, drug identification, drug interdiction,
15 detection, money laundering techniques and schemes, smuggling, and the investigation of
16 individuals and/or organizations involved in the illegal possession, possession for sale,
17 sales, importation, smuggling, cultivation, manufacturing, and illicit trafficking of
18 controlled substances. Prior to becoming a Special Agent with the DEA, I was employed
19 as a Police Officer in the Village of Lincolnshire in Lake County, Illinois, from
20 December 2014 to August 2016. In that capacity, I was responsible for providing and
21 promoting public safety in the Village of Lincolnshire and the State of Illinois by
22 maintaining order, responding to emergencies, protecting people and property, and
23 enforcing criminal and motor vehicle laws. During this time, I was involved in
24 investigations of criminal offenses including, but not limited to, narcotics, identity theft,
25 burglary, fraud, DUI, theft, and domestic violence.
26               In my role as a Special Agent for the Drug Enforcement Administration. I
27 have participated in narcotics investigations (i.e. heroin, cocaine, marijuana, and
28 methamphetamine) which have resulted in the arrest of individuals and the seizure of

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 1 illicit narcotics and/or narcotic-related evidence and the forfeiture of narcotics related
 2 assets. I have been involved in the service of search warrants as part of these
 3 investigations. Because of my experience in serving these search warrants, I have
 4 encountered and have become familiar with various tools, methods, trends, paraphernalia
 5 and related articles utilized by various traffickers in their efforts to import, conceal, and
 6 distribute controlled substances. I am also familiar with the various methods of
 7 packaging, delivering, transferring, and laundering drug proceeds. Additionally, through
 8 my training and experience, I can identify illegal drugs by sight, odor, and texture.
 9                    I have also worked on drug investigations involving the use of court-
10 authorized wiretaps under Title III. In that capacity, I have had the opportunity to
11 monitor, listen to, and review transcripts and line sheets (prepared by linguists)
12 documenting the content of hundreds of intercepted conversations involving the
13 trafficking of cocaine, methamphetamine, heroin, and other narcotics, by persons who
14 used some form of code to thwart law enforcement. I have also interviewed defendants at
15 the time of their arrest and have debriefed, spoken with, and/or interviewed numerous
16 drug dealers or confidential sources (informants) at proffer and safety valve interviews
17 who were experienced in speaking in coded conversation over the telephone. In many of
18 these interviews and debriefings, I was able to speak with these drug traffickers about
19 specific conversations in which they were intercepted pursuant to electronic surveillance.
20 From these interviews, and also from discussions with other experienced Agents, I have
21 gained knowledge regarding the various methods, techniques, codes, and/or jargon used
22 by drug traffickers in the course of their criminal activities, including their use of
23 firearms to protect their narcotics related activities and of cellular telephones, other
24 electronic means to facilitate communications while avoiding law enforcement scrutiny.
25                    I have written affidavits in support of court authorized federal warrants and
26 orders in the Western District of Washington for GPS tracking of telephones, search
27 warrants, and tracking of vehicles. Additionally, I have testified in grand jury
28 proceedings, written investigative reports, and conducted and participated in numerous
     interviews of drug traffickers of various roles within drug organizations, which has
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 1 provided me with a greater understanding of the methods by which drug trafficking
 2 organizations operate.
 3                                   PURPOSE OF AFFIDAVIT
 4                   This application seeks permission to search the following location, which is
 5 more particularly described in Attachment A, attached hereto and incorporated by this
 6 reference as if set forth fully herein. As summarized herein, this location is believed to
 7 be utilized by one or more participants in the crimes described herein, and there is
 8 probable cause to believe evidence of those crimes will be found at these locations:
 9                a.     Extended Stay America – Seattle - Everett – Silverlake, 1431
        th
   112 St SE, Room #225 , Everett, Washington: Hereinafter referred to as the “target
10
   location.” Investigators believe the target location is utilized by Bryan Pollestad.
11
                  I believe the target location is presently being used in the Western District
12
   of Washington in furtherance of the following federal criminal offenses: Distribution of
13
   Controlled Substances, in violation of 21 U.S.C. § 841(a) (1), and/or conspiracy to
14
   commit that same offense in violation of 21 U.S.C. § 846.
15
                  I have obtained the facts set forth in this affidavit through my personal
16
   participation in the investigation described below; from oral and written reports of other
17
   law enforcement officers; and from records, documents and other evidence obtained
18
   during this investigation. I have obtained and read official reports prepared by law
19
   enforcement officers participating in this investigation and in other investigations by the
20
   DEA. When I refer to registration records for vehicles, I am relying on records obtained
21
   from the Washington State DOL. Insofar as I have included event times in this affidavit,
22
   those event times are approximate.
23
                  Since this affidavit is being submitted for the limited purpose of obtaining
24
   authority to search the target location, I have not included every fact known concerning
25
   this investigation. I have set forth only the facts that I believe are essential for a fair
26
   determination of probable cause that the target subject(s) are involved in drug trafficking,
27
   and the target location is being used to facilitate that drug trafficking.
28

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 1                                      SOURCES OF INFORMATION
 2                       I have obtained the facts set forth in this affidavit through my personal
 3 participation in the investigation described below; from oral and written reports of other
 4 law enforcement officers; and from records, documents and other evidence obtained
 5 during this investigation. I have obtained and read official reports prepared by law
 6 enforcement officers participating in this investigation and in other investigations by the
 7 DEA. Insofar as I have included event times in this affidavit, those event times are
 8 approximate.
 9                                     SUMMARY OF INVESTIGATION
10                      Jimenez-Hernandez Trans-National Criminal Organization
11                       Beginning in December 2018, DEA, Snohomish Regional Drug Task Force
12 (SRDTF), Skagit County Drug Task Force (SCDTF), and Seattle Police Department
13 Narcotics (SPD) began investigating a drug trafficking organization (DTO) operating
14 within the Western District of Washington. Through the use of confidential source
15 information and traditional investigative techniques, agents 1 identified several
16 individuals, including Christian JIMENEZ-HERNANDEZ, Martin Esteban QUINONEZ-
17 LUQUE, Gonzalo VILLASENOR, Jocelyn LEYVA-CASTELLANOS, and Julio Cesar
18 RAMIREZ-MENESES, involved in the distribution of methamphetamine, heroin, and
19 counterfeit oxycodone, commonly referred to as M30s.
20                  Authorization to Intercept Wire and Electronic Communications
21                       On October 15, 2019, the Honorable James L. Robart, United States
22 District Judge for the Western District of Washington, signed an Order authorizing
23 interception of wire and electronic communications of 425-345-8051 (“TT3”) used by
24 Gonzalo VILLASENOR, 425-410-6962 (“TT4”) used by Gonzalo VILLASENOR, and
25
26   1
    When I use the term “agents” throughout the affidavit I am referring to law enforcement
27 personnel, to include, but not limited to DEA and FBI agents and task force officers; Seattle
   Police Department sergeants, detectives and officers; and Snohomish Regional Drug and Gang
28 Task Force detectives, and other officers and agents associated with this investigation.

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 1 206-578-9119 (“TT6”) used by Julio Cesar RAMIREZ-MENESES. In doing so, Judge
 2 Robart found probable cause to believe that TT3, TT4, and TT6 were being used to
 3 further drug trafficking and related offenses. Interception pursuant to that order began
 4 that day and ended November 13, 2019, and has strengthened investigators’ belief that
 5 VILLASENOR, RAMIREZ-MENESES, and their associates are distributing narcotics in
 6 the Western Washington area.
 7                       On October 21, 2019, the Honorable Mary Alice Theiler, United States
 8 Magistrate Judge for the Western District of Washington, signed an order authorizing
 9 real-time GPS tracking and court authorization for the installation and monitoring of a
10 pen register and trap and trace device for three target telephones, TT11 2 (360-202-5932),
11 TT12 (206-661-7401), and TT13 (425-528-4845).
12                       On October 22, 2019, the Honorable Mary Alice Theiler, United States
13 Magistrate Judge for the Western District of Washington, signed an order authorizing
14 real-time GPS tracking and court authorization for the installation and monitoring of a
15 pen register and trap and trace device for three target telephones, TT7 (425-443-4979),
16 TT10 (206-574-8656), and TT14 (360-722-2984).
17                       On October 29, 2019, the Honorable Mary Alice Theiler, United States
18 Magistrate Judge for the Western District of Washington, signed an order authorizing
19 real-time GPS tracking and court authorization for the installation and monitoring of a
20 pen register and trap and trace device for three target telephones, TT15 (425-948-9793),
21 TT16 (541-730-0001), and TT17 (206-460-9015).
22                       On October 31, 2019, the Honorable Paula McCandlis, United States
23 Magistrate Judge for the Western District of Washington, signed an order authorizing
24 real-time GPS tracking and court authorization for the installation and monitoring of a
25 pen register and trap and trace device for three target telephones, TT18 (325-921-0597),
26 TT19 (206-581-5661), and TT20 (425-791-6612).
27
     2
28    On October 24, 2019, the phone provider for TT11 advised agents that the phone number of 360-202-5932
     changed to 206-669-4690 but the IMSI for the phone device remained the same; therefore, agents were able to
     continue receiving GPS tracking and pen register and trap and trace data on TT11 under the existing court order.
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 1                       On November 6, 2019, the Honorable Michelle Peterson, United States
 2 Magistrate Judge for the Western District of Washington, signed an order authorizing
 3 real-time GPS tracking and court authorization for the installation and monitoring of a
 4 pen register and trap and trace device for three target telephones, TT21 (425-499-5560),
 5 TT22 (206-929-8323), and TT23, (206-353-2038).
 6                       On November 22, 2019, the Honorable Ricardo S. Martinez, United States
 7 District Judge for the Western District of Washington, signed an Order authorizing the
 8 continued interception of wire and electronic communications of 425-345-8051 (TT3)
 9 used by Gonzalo VILLASENOR, 425-410-6962 (TT4) used by Gonzalo VILLASENOR;
10 the initial interception of wire and electronic communications of 206-460-9015 used by
11 Bryan POLLESTAD (TT17), 206-929-8323 used by Manuel PANTOJA (TT22), and
12 206-970-2993 used by Bryan POLLESTAD (TT24) 3; and the initial interception of wire
13 communications only of 541-730-0001 used by Jesus DE LEON. In doing so, Judge
14 Martinez found probable cause to believe that TT3, TT4, TT17, TT22, TT24, and TT16
15 were being used to further drug trafficking and related offenses. Interception pursuant to
16 that order began that day and is ongoing, and has strengthened investigators’ belief that
17 VILLASENOR, RAMIREZ-MENESES, and their associates are distributing narcotics in
18 the Western Washington area.
19                            PROBABLE CAUSE FOR SEARCH WARRANT
20                       During the course of the interception period, POLLESTAD using TT24,
21       has been intercepted stating he is staying at an Extended Stay, which I believe is the
22       target location, on seven separate occasions (sessions 741, 768, 771, 824, 839, 1056,
23       1076). One such example, on November 29, 2019, POLLESTAD received a call from a
24       female using telephone 425-484-0503. During the call the female asked POLLESTAD
25       for “brown” [heroin] and “some extra clear” [methamphetamine] POLLESTAD directed
26
27
28   3
      On November 26, 2019, agents obtained a revised wiretap Order from Judge Martinez to correct the area code of
     TT24 from 206-970-2993 to 425-970-2993.
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1    the female to go to the Extended Stay. I believe POLLESTAD was directing the female
2    to meet him at the Extended Stay Hotel to conduct a narcotics transaction.
3                    During two occasions POLLESTAD directed individuals to a specific
4    room. On November 29, 2019, POLLESTAD received a phone call on TT24 from 425-
5    626-0651, used by an individual who identified themselves as “Joe” (session 839). The
6    following is a transcription of the telephone conversation.
7                    POLLESTAD:         Hello.
8                    JOE:               Hello.
9                    POLLESTAD:         Who’s this?
10                   JOE:               This is Joe
11                   POLLESTAD:         What’s up, Joe? How you doing?
12                   JOE:               Not too bad. How you doing?
13                   POLLESTAD:         Good. Is everything alright?
14                   JOE:               Yeah, yeah, yeah. It’s all good. I just needed to see ya.
15                   POLLESTAD:         You need to see me?
16                   JOE:               Yeah.
17                   POLLESTAD:         For, for what?
18                   JOE:               Uh, some clear and some dark. [methamphetamine and
19                                      heroin]
20                   POLLESTAD:         Okay, uh, gimme, uh… I’m at the one, twelfth (112th)
21                                      Extended Stay. [POLLESTAD is at the extended stay
22                                      off 112th]
23                   JOE:               One, twelfth (112th) Extended Stay. Uhm, okay, the
24                                      one off [U/I]?
25                   POLLESTAD:         Mmhmm. So, um, [Pause] I’ll have to call and [U/I] a
26                                      ride unless you want to shoot out here.
27                   JOE:               I can shoot that way.
28                   POLLESTAD:         Alright, sounds good, Joe:. I’ll see you in a minute.
                     JOE:               Alright, what number? [what room number]
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 1                   POLLESTAD:         Uh, two (2), twenty (20), uh, two (2), twenty-five (25).
 2                                      [room 225] Aside: Right babe? Yeah. Two (2), twenty-
 3                                      five (25). [Room 225]
 4                   JOE:               Two (2), twenty five (25), all right. [U/I] [Room 225]
 5                   POLLESTAD:         [U/I]
 6                   JOE:               All right.
 7                   During this telephone call I believe “Joe” contacted POLLESTAD to order
 8 methamphetamine and heroin. To complete the narcotics transaction POLLESTAD
 9 directed “Joe” to see him at the Extended Stay located off of 112th. POLLESTAD then
10 provided “Joe” room number 225 for the room to see him in.
11                   On November 30, 2019, POLLESTAD received a phone call on TT24 from
12 206-612-6604, used by an individual who himself as “Kevin” (session 1056). During the
13 phone call “Kevin” stated he had money for POLLESTAD. POLLESTAD directed
14 “Kevin” to the “Extended Stay on 112th” and told “Kevin to park in the back”. Kevin
15 said he had 400 plus another 400 for POLLESTAD. The parties discussed timing of when
16 Kevin would arrive and conversation ended shortly thereafter.
17                   On November 30, 2019, POLLESTAD received a phone call on TT24 from
18 206-612-6604, used by an individual who POLLESTAD identified as “Kevin” (session
19 1075). The following is a transcription of the telephone conversation.
20                   POLLESTAD:         Hello. Kevin!
21                   KEVIN:             Hey. I’m back here right now.
22                   POLLESTAD:         All right, cool. Uhm, just, uh, you can… (Aside:
23                                      Huh?)
24                   KEVIN:             I’m back here in like the north, on the north side.
25                   POLLESTAD:         Okay. You can come…
26
27                   KEVIN:             [U/I] people in the parking lot.
28                   POLLESTAD:         Okay, y-, you don’t want to chill there if there’s hella
                                        people there.
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 1                   KEVIN:              Okay, you, I’m, Imma go to the, the, backside on the
 2                                       south door.
 3                   POLLESTAD:          Uhh, the back side?
 4                   KEVIN:              Yeah, I’m on the back side, I’m, there’s like, there’s
 5                                       three (3) doors. There’s fuckin’ the front doors and
 6                                       there’s one (1) on the north end, and one (1) on the
 7                                       south end.
 8
 9                   POLLESTAD:          Right. You’re gonna go to the north end door?
10                   KEVIN:              I’m at the north end door right now. There’s quite a
11                                       few people out here.
12                   POLLESTAD:          Right, right. But, I would just walk and go up to two
13                                       (2), twenty-five (25). [Room 225]
14
15                   KEVIN:              Go to, to [PH] two (2), twenty-five (25)? [Room 225]
16                   POLLESTAD:          Yeah, just walk in the front.
17                   KEVIN:              All right. I’ll be right there.
18                   POLLESTAD:          All right.
19                   Furthermore, GPS data for TT24 has indicated the telephone was in the
20 immediate vicinity of the Extended Stay located at 1431 112th St SE, Everett,
21 Washington on a consistent basis since November 29. Based on the foregoing phone
22 calls, and GPS location data, I believe the target location has been and is still being
23 utilized POLLESTAD or other unknown co-conspirators in furtherance of narcotic
24 related activity, and that evidence of the offenses can be located at this location.
25                   On November 30, 2019, agents intercepted a telephone call from TT24,
26 used by POLLESTAD to 425-529-3287 used by an unidentified male (session 1215).
27 During the phone call POLLESTAD said he needed five pounds of "clear"
28 [methamphetamine] and 25 pieces of dark [heroin] package. UM said okay.
     POLLESTAD asked if UM had both of those. UM said not the dark [heroin], only
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 1 "water."[ methamphetamine] POLLESTAD asked what happened to all the dark [heroin].
 2 UM said they were on the way, maybe two more days. POLLESTAD asked if UM had
 3 any “dark” [heroin]. UM said he (UM) had 10 pieces [10 ounces], not the same, different.
 4 POLLESTAD asked if they (10 pieces of dark) were okay. UM said it was good.
 5 POLLESTAD said he would take the 10 then. UM said okay, and asked if 10 pieces (of
 6 dark), five "water," and 500 blue [oxycodone/counterfeit oxycodone]. POLLESTAD said
 7 yeah, and told UM he had just pulled into the Seven Eleven. POLLESTAD asked if UM
 8 wanted him (BRYAN) to stay there. UM said he would be on the way, and needed five
 9 maybe ten minutes. BRYAN said thank you. Later that same evening POLLESTAD and
10 the user of 425-529-3287 spoke (session 1235). The UM stated he would was at the seven
11 11 in a white Chevy S10.
12                  Later that same evening surveillance was established at the seven eleven,
13 upon their arrival units observed a white Chevy in the parking lot. Moments late agents
14 observed a dark colored vehicle, later identified as a black Mercedes, park near the
15 Chevy. A male exited the Chevy and enter black Mercedes. The male remained in the
16 black Mercedes for a short period of time then returned to the Chevy. Both vehicles
17 departed. The black Mercedes traveled throughout the area, stopping at a gas station and
18 other areas. As the black Mercedes GPS location data for TT24 was in the immediate
19 vicinity of where surveillance agents observed the vehicle. Additionally agents
20 intercepted communications over TT24 where POLLESTAD was speaking to other
21 individuals.
22                   Agents followed the black Mercedes as it travel back to the at Extended
23 Stay hotel at 1431 112th St SE, Everett, Washington. Once the black Mercedes arrived
24 at the Extended Stay parking lot, agents requested marked police units to attempt a traffic
25 stop on the vehicle. As units attempted to stop the vehicle it attempted to flee, striking the
26 patrol vehicles and the occupants fled on foot. POLLESTAD was believed to be the
27 driver of the vehicle at the time they attempted to stop it and was taken into custody.
28                  I believe POLLESTAD obtained narcotics and was returning to the Target
     location to stash the recently obtained narcotics. Furthermore, I believe POLLESTAD
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 1 has other narcotics from previous transactions, or evidence of such crimes, located in the
 2 target location. I believe the target location has been and is still being utilized
 3 POLLESTAD or other unknown co-conspirators in furtherance of narcotic related
 4 activity, and that evidence of the offenses can be located at this location.
 5                 KNOWLEDGE BASED ON TRAINING AND EXPERIENCE
 6                   Based on my training and experience, and my discussions with other
 7 experienced officers and agents involved in drug investigations, I know the following:
 8              a.      During the execution of search warrants, it is common to find
 9 papers, letters, billings, documents, and other writings that show ownership, dominion,
10 and control of vehicles, residences, and/or storage units.
11
12                   b.       It is common for drug dealers to secrete contraband, proceeds of

13 drug sales, and records of drug transactions in secure locations within their vehicles,
14 residences, and/or storage units for their ready access and to conceal them from law
15 enforcement.
16                   c.       Narcotics traffickers maintain books, records, receipts, notes,

17 ledgers, airline tickets, money orders, and other papers relating to the transportation,
18 ordering, sale, and distribution of controlled substances. Narcotics traffickers commonly
19 “front,” that is, provide on consignment, controlled substances to their clients. These
20 books, records, receipts, notes, and ledgers, commonly known as “pay and owe sheets,”
21 are maintained where traffickers have ready access to them.
22              d.    Traffickers of controlled substances, and those who assist them,

23 maintain and tend to retain accounts or records of their drug trafficking activities,
24 including lists of drug quantities and money owed, telephone records including contact
25 names and numbers, photographs, and similar records of evidentiary value. These items
26 are generally kept in locations where drug traffickers believe their property is secure and
27 will remain undetected from law enforcement, such as inside their homes and vehicles.
28 Sometimes, these locations are not their primary residence, but instead used for the
     purposes of storing and distributing drugs.
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 1                  e.       Traffickers of controlled substances commonly maintain records
 2 reflecting names or nicknames, addresses, vehicles, and/or telephone numbers of their
 3 suppliers, customers and associates in the trafficking organization. Traffickers
 4 commonly maintain this information in books or papers as well as in cellular telephones
 5 and other electronic devices. Traffickers often maintain cellular telephones for ready
 6 access to their clientele and to maintain their ongoing narcotics business. Traffickers
 7 frequently change their cellular telephone numbers to avoid detection by law
 8 enforcement, and it is common for traffickers to use more than one cellular telephone at
 9 any one time.
10                  f.       Traffickers maintain evidence of their criminal activity at locations
11 that are convenient to them, including their residences and vehicles. This evidence often
12 includes more than contraband and paraphernalia and includes financial records, records
13 of property and vehicle ownership, records of property rented, records of storage facilities
14 used to hide drugs or currency, and other documentary evidence relating to commission
15 of, and proceeds from, their crimes. Narcotics traffickers sometimes take or cause to be
16 taken photographs and/or video recordings of themselves, their associates, their property,
17 and their illegal product, or have photo or video security systems that record images from
18 their homes or property. These individuals usually maintain these photographs and
19 recordings in their possession or at their premises, in a safe place. Such evidence may be
20 kept at a safe location for a long time after the drug deal(s) to which they pertain are
21 completed, if the location remains under the control of the trafficker.
22                  g.       Traffickers frequently maintain items necessary for weighing,
23 packaging and cutting drugs for distribution. This paraphernalia often includes, but is not
24 limited to, scales, plastic bags and other packaging materials, sifters, containers, and
25 cutting/diluting agents and items to mask the odor of narcotics. Persons trafficking and
26 using controlled substances frequently sell more than one type of controlled substance at
27 any one time.
28

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 1                   h.       It is common for drug dealers to also be users of their product, and it
 2 is common for drug users to maintain paraphernalia associated with the use of controlled
 3 substances, such as syringes, pipes, spoons, containers, straws, and razor blades.
 4                   i.       Traffickers frequently maintain records, books, notes, ledgers, travel
 5 documents, and other papers relating to the transportation and distribution of controlled
 6 substances in locations convenient to them, such as their residences and vehicles.
 7                   j.       Traffickers often maintain weapons, including firearms and
 8 ammunition, in secure locations such as their residences and vehicles, in order to protect
 9 their drugs and drug proceeds.
10                   k.       Traffickers often have false identification documents and
11 identification documents in the names of others. Traffickers very often place assets in
12 names other than their own, or use fictitious names and identification, to avoid detection
13 of these assets by government agencies, while continuing to use these assets and exercise
14 dominion and control over them.
15                   l.       Drug trafficking is a cash business, often involving large amounts of
16 cash at any one time, so drug traffickers often have money counters.
17                   m.       Persons involved in drug trafficking conceal in their residences
18 caches of drugs, large amounts of currency, financial instructions, precious metals,
19 jewelry, and other items of value and/or proceeds of drug transactions as well as evidence
20 of financial transactions relating to obtaining, transferring, secreting, or the spending of
21 large sums of money made from engaging in narcotics trafficking activities.
22                   o.       Unexplained wealth is probative evidence of crimes motivated by
23 greed, in particular, trafficking in controlled substances.
24                   p.       Illegal drug trafficking is a continuing activity over months and even
25 years. Illegal drug traffickers will repeatedly obtain and distribute controlled substances
26 on a somewhat regular basis, much as any distributor of a legitimate commodity would
27 purchase stock for sale, and, similarly, drug traffickers will have an “inventory,” which
28 fluctuates in size depending upon various factors, including the demand and supply for
     the product. I would expect the trafficker to keep records of his illegal activities for a
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                                                                                700 STEWART STREET, SUITE 5220
      USAO201900179
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 1 period of time extending beyond the time during which he actually possesses illegal
 2 controlled substances, in order that he can maintain contact with his criminal associates
 3 for future drug transactions, and so that he can have records of prior transactions for
 4 which, for example, he might still be owed money, or might owe someone else money.
 5 These records are often created in code
 6                   q.       Drug trafficking is a cash business, and in order to escape notice
 7 from authorities for using unexplained income, or hide excessive cash from illegal
 8 activities, traffickers either keep large quantities of cash at home or other secure
 9 locations, such as safe deposit boxes, or convert the cash into other valuable assets, such
10 as jewelry, precious metals, monetary instruments, or other negotiable forms of wealth.
11 Records of such conversions are often stored where a trafficker lives or in other secure
12 locations such as safe deposit boxes.
13                   r.       Money launderers often have banking records to include but not
14 limited to, deposit or withdrawal slips, bank statements, checks, or money orders. Some
15 of these banking records may not be in their own name. Money launderers often have
16 several accounts documented in some form, or instructions detailing how to handle each
17 respective account. For example, they may have a list of accounts belonging to several
18 different people with instructions for how much to deposit or withdraw from each and
19 often maintain this information for long periods of time in their residences or safe deposit
20 boxes.
21                   s.       Money launderers often have records or evidence related to how the
22 proceeds were spent or concealed and often maintain this information for long periods of
23 time in their residences or safe deposit boxes. Evidence may include jewelry and/or
24 vehicles, as well as the contents of storage lockers, safe deposit boxes or bank accounts.
25 The use of bank accounts is a common money movement technique used by drug
26 traffickers to receive payment for narcotics from customers outside of their geographic
27 region. It is common for a trafficker to use several bank accounts for this purpose
28 simultaneously in an attempt to avoid detection by the financial institutions and/or law
     enforcement. The use of multiple accounts, and the commingling of illicit funds with
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 1 legitimate funds in particular, is often part of the plan to conceal the illegal activity or
 2 may be part of the overall integration mechanism by which the illicit funds are made to
 3 appear as part of the legitimate income so that only a small portion of or even none of the
 4 funds from an account are seized.
 5           28.     Based on my training and experience, and that of those around me, I also
 6 know that drug dealers use cellular telephones as a tool or instrumentality in committing
 7 their criminal activity, to include laundering their proceeds. They use them to maintain
 8 contact with their suppliers, distributors, and customers. They prefer cellular telephones
 9 because, first, they can be purchased without the location and personal information that
10 land lines require. Second, they can be easily carried to permit the user maximum
11 flexibility in meeting associates, avoiding police surveillance, and traveling to obtain or
12 distribute drugs. Third, they can be passed between members of a drug conspiracy to
13 allow substitution when one member leaves the area temporarily. Since cellular phone
14 use became widespread, every drug dealer I have contacted has used one or more cellular
15 telephones for his or her drug business. I also know that it is common for drug traffickers
16 to retain in their possession phones that they previously used, but have discontinued
17 actively using, for their drug trafficking business. These items may be kept for months
18 and months in a safe place controlled by the drug trafficker. Based on my training and
19 experience, the data maintained in a cellular telephone used by a drug dealer is evidence
20 of a crime or crimes. This includes the following:
21                   a.       The assigned number to the cellular telephone (known as the mobile
22 directory number or MDN), and the identifying telephone serial number (Electronic
23 Serial Number, or ESN), (Mobile Identification Number, or MIN), (International Mobile
24 Subscriber Identity, or IMSI), or (International Mobile Equipment Identity, or IMEI) are
25 important evidence because they reveal the service provider, allow us to obtain subscriber
26 information, and uniquely identify the telephone. This information can be used to obtain
27 toll records, to identify contacts by this telephone with other cellular telephones used by
28 co-conspirators, to identify other telephones used by the same subscriber or purchased as
     part of a package, and to confirm if the telephone was contacted by a cooperating source.
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 1                  b.       The stored list of recent received, missed, and sent calls is important
 2 evidence. It identifies telephones recently in contact with the telephone user. This is
 3 valuable information in a drug investigation because it will identify telephones used by
 4 other members of the organization, such as suppliers, distributors and customers, and it
 5 confirms the date and time of contacts. If the user is under surveillance, it identifies what
 6 number he called during or around the time of a drug transaction or surveilled meeting.
 7 Even if a contact involves a telephone user not part of the conspiracy, the information is
 8 helpful (and thus is evidence) because it leads to friends and associates of the user who
 9 can identify the user, help locate the user, and provide information about the user.
10 Identifying a defendant’s law-abiding friends is often just as useful as identifying his
11 drug-trafficking associates.
12                  c.       Stored text messages are important evidence, similar to stored
13 numbers. Agents can identify both drug associates, and friends of the user who likely
14 have helpful information about the user, his location, and his activities.
15                  d.       Drug traffickers increasingly use applications on smart phones that
16 encrypt communications such as WhatsApp, or applications that automatically delete
17 messages, such as Snapchat, in order to avoid law enforcement monitoring or recording
18 of communications regarding drug trafficking and/or money laundering. Evidence of the
19 use of such applications can be obtained from smart phones, and is evidence of a smart
20 phone user’s efforts to avoid law enforcement detection.
21                  e.       Photographs on a cellular telephone are evidence because they help
22 identify the user, either through his or her own picture, or through pictures of friends,
23 family, and associates that can identify the user. Pictures also identify associates likely to
24 be members of the drug trafficking organization. Some drug dealers photograph groups
25 of associates, sometimes posing with weapons and showing identifiable gang signs.
26 Also, digital photos often have embedded “geocode” or GPS information embedded in
27 them. Geocode information is typically the longitude and latitude where the photo was
28 taken. Showing where the photo was taken can have evidentiary value. This location

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                                                                               700 STEWART STREET, SUITE 5220
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1 information is helpful because, for example, it can show where coconspirators meet,
2 where they travel, and where assets might be located
3                   f.       Stored address records are important evidence because they show the
4 user’s close associates and family members, and they contain names and nicknames
5 connected to phone numbers that can be used to identify suspects.
6                                           CONCLUSION
7                   For the reasons set forth above, I respectfully submit there is probable
8    cause to believe that evidence of the crime of Distribution of Controlled Substances
9    and/or Conspiracy to Distribute Controlled Substances, as described in Attachment B,
10   will be found in the target location, further described in Attachment A, and ask that a
11   warrant be issued to search the target location for said evidence.
12                       REQUEST FOR SEALING AND DELAYED NOTICE
13                  These applications are part of a long-term, multi-jurisdiction investigation
14   into the criminal activities of the entire Jimenez-Hernandez Trans-National Criminal
15   Organization. Based upon my knowledge, training, and experience, it is my belief that
16   the information contained in this affidavit, if prematurely disclosed to the public, could
17   result in the targets’ flight from prosecution, destruction of or tampering with evidence,
18   intimidation or retaliation against potential witnesses, and could otherwise seriously
19   jeopardize the ongoing investigation. Therefore, I request that this affidavit be sealed,
20   and that notice required by Fed. R. Crim. P. 41(f) be delayed for up to ninety (90) days
21   after execution of the search warrant, in accordance with Title 18, United States Code
22   3103a(b). If necessary, I may request that the Court, upon a showing of good cause,
23   order a further adjournment of the time permitted to serve notice, if necessary to protect
24   the safety of any individual, avoid flight or destruction of evidence, and ensure that the
25   investigation is not jeopardized prior to its completion.
26                  For the same reasons, I specifically request permission is sought to conduct
27   the search of the target location covertly, pursuant to 18 U.S.C. § 3103a(b) and (c),
28   with delayed notice of the search for a period of at least ninety (90) days. The warrant

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                                                                             700 STEWART STREET, SUITE 5220
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                                                                                     (206) 553-7970
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